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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

IOWA PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM; LOS ANGELES COUNTY EMPLOYEES                      No. 17-cv-6221 (KPF-SLC)
RETIREMENT ASSOCIATION; ORANGE
COUNTY EMPLOYEES RETIREMENT SYSTEM;
SONOMA COUNTY EMPLOYEES’ RETIREMENT
ASSOCIATION; and TORUS CAPITAL, LLC, on
behalf of themselves and all others similarly situated,
               Plaintiffs,
                              v.                          ORDER PRELIMINARILY
                                                          APPROVING SETTLEMENT
MERRILL LYNCH, PIERCE, FENNER & SMITH                     AGREEMENT WITH THE
INCORPORATED; MERRILL LYNCH L.P.                          GOLDMAN SACHS, MORGAN
HOLDINGS, INC.; MERRILL LYNCH                             STANLEY, JPMORGAN, UBS,
PROFESSIONAL CLEARING CORP.; CREDIT                       AND EQUILEND
SUISSE AG; CREDIT SUISSE SECURITIES (USA)                 DEFENDANTS; CERTIFYING
LLC; CREDIT SUISSE FIRST BOSTON NEXT                      THE SETTLEMENT CLASS;
FUND, INC.; CREDIT SUISSE PRIME                           AND APPOINTING CLASS
SECURITIES SERVICES (USA) LLC; GOLDMAN,                   COUNSEL AND CLASS
SACHS & CO. LLC; GOLDMAN SACHS                            REPRESENTATIVES FOR THE
EXECUTION & CLEARING, L.P.; J.P. MORGAN                   SETTLEMENT CLASS
SECURITIES LLC; J.P. MORGAN PRIME, INC.;
J.P. MORGAN STRATEGIC SECURITIES
LENDING CORP.; JPMORGAN CHASE BANK,
N.A.; MORGAN STANLEY; MORGAN STANLEY
CAPITAL MANAGEMENT, LLC; MORGAN                           Hon. Katherine Polk Failla
STANLEY & CO. LLC; MORGAN STANLEY
DISTRIBUTION, INC.; PRIME DEALER
SERVICES CORP.; STRATEGIC INVESTMENTS I,
INC.; UBS AG; UBS AMERICAS INC.; UBS
SECURITIES LLC; UBS FINANCIAL SERVICES
INC.; EQUILEND LLC; EQUILEND EUROPE
LIMITED; and EQUILEND HOLDINGS LLC,
       Defendants.
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       WHEREAS, the Action1 is pending before this Court;

       WHEREAS, Plaintiffs2 have entered into and executed a Stipulation and Agreement of

Settlement (the “Settlement Agreement”) with the Goldman Sachs defendants (Goldman Sachs

& Co. LLC; and Goldman Sachs Execution & Clearing, L.P. (merged into Goldman Sachs & Co.

LLC as of June 12, 2017)); the JPMorgan defendants (J.P. Morgan Securities LLC; J.P. Morgan

Prime, Inc.; J.P. Morgan Strategic Securities Lending Corp.; and JPMorgan Chase Bank, N.A.);

the Morgan Stanley defendants (Morgan Stanley; Morgan Stanley Capital Management, LLC;

Morgan Stanley & Co. LLC; Morgan Stanley Distribution, Inc.; Prime Dealer Services Corp.;

and Strategic Investments I, Inc); the UBS defendants (UBS AG; UBS Americas Inc.; UBS

Securities LLC; and UBS Financial Services Inc.); and the EquiLend defendants (EquiLend

LLC; EquiLend Europe Limited; and EquiLend Holdings LLC) (all such defendants together, the

“Settling Defendants” herein), (the “Settling Defendants” and with Plaintiffs the “Settling

Parties”), which, if finally approved by the Court, will result in the settlement of all claims

against Settling Defendants;

       WHEREAS, in full and final settlement of the claims asserted against them in this

Action, the Settling Defendants have agreed to pay an amount which totals $499,008,750 (the

“Settlement Funds”), agreed to certain non-monetary relief as described in Exhibit A of the

Settlement Agreement, and agreed to provide discovery that is likely to assist with the continued

prosecution of the Action as set forth in the Settlement Agreement;

       WHEREAS, Plaintiffs, having made an application, pursuant to Rule 23(e) of the Federal

Rules of Civil Procedure, for an order preliminarily approving the Settlement Agreement, which

sets forth the terms and conditions of the Settlement of the Action against the Settling


1
  As defined in the Settlement Agreement, the “Action” means the above-captioned litigation
pending in the United States District Court for the Southern District of New York.
2
  As defined in the Settlement Agreement, “Plaintiffs” are Iowa Public Employees’ Retirement
System; Los Angeles County Employees Retirement Association; Orange County Employees
Retirement System; Sonoma County Employees’ Retirement Association; and Torus Capital,
LLC.


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Defendants and for dismissal of the Action against the Settling Defendants with prejudice upon

the terms and conditions set forth in the Settlement Agreement;

       WHEREAS, Plaintiffs have sought, and Settling Defendants have agreed not to object to,

the certification of the Settlement Class (as defined below) solely for settlement purposes;

       WHEREAS, Plaintiffs have requested that Co-Lead Counsel be appointed as settlement

class counsel for the Settlement Class pursuant to Rule 23(g) of the Federal Rules of Civil

Procedure;

       WHEREAS, Plaintiffs have requested that they be appointed class representatives of the

Settlement Class;

       WHEREAS, the Settling Parties have agreed to the entry of this Order Preliminarily
Approving Settlement Agreement with the Goldman Sachs, Morgan Stanley, JPMorgan, UBS,

and EquiLend Defendants, Certifying the Settlement Class, and Appointing Class Counsel and

Class Representatives for the Settlement Class (the “Order”); and

       WHEREAS the Court has read and considered the Settlement Agreement and the exhibits

annexed thereto and other documents submitted in connection with Plaintiffs’ Motion for

Preliminary Approval of the Settlement Agreement, and good cause appearing therefor;

       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.      All terms in initial capitalization used in this Order shall have the same meanings

as set forth in the Settlement Agreement, unless otherwise defined herein.

I.     PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT
       2.      Pursuant to Fed. R. Civ. P. 23(e)(1)(B), based on the showing that the Court will

likely be able to approve the proposed settlement under Rule 23(e)(2) and certify the class for

purposes of judgment on the proposed settlement, the Court hereby preliminarily approves the

Settlement Agreement, subject to further consideration at the Fairness Hearing described below.

The Court preliminarily finds that the settlement encompassed by the Settlement Agreement

satisfies the requirements of Rules 23(c)(2) and 23(e) of the Federal Rules of Civil Procedure




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and due process so that an appropriate notice of the Settlement Agreement should be given,

subject to the Court’s approval of a notice plan as provided in this Order.

II.     PRELIMINARY CERTIFICATION OF SETTLEMENT CLASS

        3.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

preliminarily certifies, solely for settlement purposes, a Settlement Class defined as follows: all

Persons who, directly or through an agent, entered into Stock Loan Transactions with the Prime

Broker Defendants, direct or indirect parents, subsidiaries, or divisions of the Prime Broker

Defendants in the United States from January 7, 2009 through the Execution Date (the

“Settlement Class Period”), inclusive. Excluded from the Settlement Class are Defendants and

their employees, affiliates, parents, and subsidiaries, whether or not named in the Amended

Complaint, entities which previously requested exclusion from any Class in this Action,3 and the

United States Government, provided, however, that Investment Vehicles shall not be excluded

from the definition of the Settlement Class.

        4.     Solely for purposes of the settlement, the Court preliminarily finds that the

requirements of Federal Rules of Civil Procedure 23(a) and 23(b)(3) have been satisfied, as

follows: (a) the members of the Settlement Class are so numerous that joinder of all members of

the Settlement Class is impracticable; (b) questions of law and fact common to the Settlement

Class predominate over any individual questions; (c) the claims of Plaintiffs are typical of the

claims of the Settlement Class; (d) Plaintiffs and Co-Lead Counsel have fairly and adequately

represented and protected the interests of the Settlement Class; and (e) a class action is superior

to other available methods for the fair and efficient adjudication of the controversy, considering

(i) the interests of members of the Settlement Class in individually controlling the prosecution of

separate actions; (ii) the extent and nature of any litigation concerning the controversy already

begun by members of the Settlement Class; (iii) the desirability or undesirability of concentrating

3
  These entities are Citadel LLC, Two Sigma Investments, PDT Partners, Renaissance
Technologies LLC, TGS Management, Voloridge Investment Management, and the D.E. Shaw
Group and their corporate parents, subsidiaries, and wholly owned affiliates (the “Opt-out
Entities”).


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the litigation of these claims in this particular forum; and (iv) the likely difficulties in managing

this Action as a class action.

         5.    If the Effective Date does not occur with respect to the Settlement Agreement

because of the failure of a condition that affects such Settlement Agreement, this conditional

certification of the Settlement Class shall be deemed null and void as to the Settling Parties

subject to such Settlement Agreement without the need for further action by the Court or any of

the Settling Parties. In such circumstances, each of the Settling Parties shall retain their rights to

seek or to object to certification of this litigation as a class action under Rule 23 of the Federal

Rules of Civil Procedure, or under any other state or federal rule, statute, law, or provision

thereof, and to contest and appeal any grant or denial of certification in this litigation or in any

other litigation on any other grounds.

III.     CLASS COUNSEL AND CLASS REPRESENTATIVES

         6.    The law firms of Quinn Emanuel Urquhart & Sullivan, LLP, and Cohen Milstein

Sellers & Toll PLLC, are preliminarily appointed, solely for settlement purposes, as Co-Lead

Counsel for the Settlement Class.

         7.    Plaintiffs are preliminarily appointed, solely for settlement purposes, as class

representatives for the Settlement Class.

IV.      PLAN OF DISTRIBUTION, NOTICE, AND FAIRNESS HEARING

         8.    At a later practicable date, Plaintiffs shall submit for the Court’s approval a

proposed Plan of Allocation of the Settlement Fund (and including all interest and income earned

thereon after being transferred to the Escrow Account).

         9.    At a later practicable date, Plaintiffs shall submit for the Court’s approval a

proposed notice plan for purposes of advising members of the Settlement Class, among other

things, of their right to object to the Settlement Agreement, their right to exclude themselves

from the Settlement Class, the procedure for submitting a request for exclusion, the time, date,




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and location of the Fairness Hearing to be scheduled by the Court, and their right to appear at the

Fairness Hearing.

        10.     At or after the Fairness Hearing, the Court shall determine whether the Settlement

Agreement, the proposed Plan of Distribution, any application for service awards, and any

application for attorneys’ fees and/or expenses for Plaintiffs’ Counsel should be finally

approved.

   V.         OTHER PROVISIONS

        11.     The notice requirements of the Class Action Fairness Act, 28 U.S.C. §1715, have

been met.

        12.     The Court approves Plaintiffs’ designation of Epiq Class Actions & Claims

Solutions, LLC as the Settlement Administrator. Absent further order of the Court, the

Settlement Administrator shall have such duties and responsibilities as are set forth in the

Settlement Agreement.

        13.     The Court approves Plaintiffs’ designation of Huntington National Bank as

Escrow Agent. Absent further order of the Court, the Escrow Agent shall have such duties and

responsibilities in such capacity as are set forth in the Settlement Agreement.

        14.     The Court approves the establishment of escrow accounts under the Settlement

Agreement as Qualified Settlement Funds (“QSFs”) pursuant to Internal Revenue Code §468B

and the Treasury Regulations promulgated thereunder, and retains continuing jurisdiction as to

any issue that may arise in connection with the formulation or administration of the QSFs. All

funds held by the Escrow Agent shall be deemed and considered to be in custodia legis, and shall

remain subject to the jurisdiction of the Court, until such time as such funds shall be distributed

pursuant to the Settlement Agreement and further order(s) of the Court.

        15.     All reasonable expenses incurred in identifying and notifying potential Settlement

Class Members as well as administering the Settlement Fund shall be paid, as set forth herein

and in Paragraph 3.12 of the Settlement Agreement, up to the sum of $2,500,000. In the event

the Court does not approve the Settlement Agreement, or if the Settlement Agreement otherwise


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fails to become effective, neither Plaintiffs nor any of their counsel shall have any obligation to

repay any amounts incurred or disbursed pursuant to Paragraph 3.12 of the Settlement

Agreement.

       16.     In the event that the Settlement Agreement is terminated, is vacated, or is not

approved, or the Effective Date fails to occur for any reason, then the parties to such Settlement

Agreement shall be deemed to have reverted to their respective status in the Action as of the

Execution Date, and, except as otherwise expressly provided herein, such parties shall proceed in

all respects as if such Settlement Agreement and any related orders had not been entered, and

such Settlement Agreement (including any amendment(s) thereto) and this Order shall be null

and void, of no further force or effect, and without prejudice to any such Settling Parties, and

may not be introduced as evidence or referred to in any actions or proceedings by any Person;
provided, however, that in the event of the termination of such Settlement Agreement,

Paragraphs 8.3, 10.3, 10.4, 12.4, and 12.5 of such Settlement Agreement shall nonetheless

survive and continue to be of effect and have binding force. Any portion of the Settlement Fund

previously paid by or on behalf of the Settling Defendants, together with any interest earned

thereon (and, if applicable, re-payment of any Fee and Expense Award referred to in Paragraph

8.3 of such Settlement Agreement), less Taxes due, if any, with respect to such income, and less

costs of administration and notice actually incurred and paid or payable from the Settlement Fund

(not to exceed the sum of $2,500,000 without the prior approval of the Court) shall be returned to

such Settling Defendants within five (5) business days after written notification of such event is

sent by counsel for the Settling Defendants or Co-Lead Counsel to the Escrow Agent. At the

request of such Settling Defendants, the Escrow Agent shall apply for any tax refund owed on the

Settlement Fund and pay the proceeds to such Settling Defendants.

       17.     The Settling Defendants have denied wrongdoing or liability in connection with

the allegations in the Action. As such, nothing in the Settlement Agreement constitutes an

admission by the Settling Defendants as to the merits of the allegations made in the Action, the

validity of any defenses that could be or have been asserted, or the appropriateness of


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certification of any class other than the Class under Fed. R. Civ. P. 23 for purposes of settlement

only.

        18.     All proceedings in the Action with respect to the Settling Defendants only are

stayed until further order of the Court. Such stay does not apply, however, to the extent actions

are necessary to implement the terms of the Settlement Agreement or comply with its terms or to

the extent actions are necessary to continue to prosecute the case against the non-settling

Defendants. Pending final determination of whether the Settlement Agreement should be

approved, neither Plaintiffs nor any Settlement Class Member shall commence or prosecute any

action alleging any of the Released Class Claims against the Settling Defendants.

        19.     All Class Members shall be bound by all determinations and judgments in the

Action concerning the settlements set forth in the Settlement Agreement, whether favorable or
unfavorable to the Settlement Class.

        20.     Any member of the Settlement Class may enter an appearance in the Action, at

his, her, or its own expense, individually or through counsel of his, her, or its own choice. Any

member of the Settlement Class who does not enter an appearance will be represented by Co-

Lead Counsel.




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The Court's certification of the Settlement Class as provided
herein is without prejudice to, or waiver of, the rights of any
non-settling Defendant to contest certification of any non-
settlement class proposed in this Action. The Court's findings in
this Preliminary Approval Order shall have no effect on the Court's
ruling on any motion to certify any class in the Action, or appoint
class representatives, and no party may cite or refer to the
Court's preliminary certification of the Settlement Class as
binding or persuasive authority with respect to any motion to
certify such class or appoint class representatives.

The Clerk of Court is directed to terminate the pending motion at
docket entry 650.




Dated:    September 1, 2023               SO ORDERED.
          New York, New York




                                          HON. KATHERINE POLK FAILLA
                                          UNITED STATES DISTRICT JUDGE
